FILED
Western District of Washington
at Seattle

IN THE WESTERN DISTRICT OF WASHINGTON way 19 9029

AT SEATTLE CHAPTER 13 BANKRUPTCY
MARK L. HATCHER, CLERK

OF THE BANKRUPTCY COURT

Date May 11", 2022 Case no. 2210270
Karie A. Simmons FINAL NOTICE OF DEFAULT
11127 NE 162%” St. » NOTICE TO CEASE AND DESIST
Bothell, WA 98011 FINAL NOTICE TO FILE DEFENDANT’S

Plaintiff, RELEASE OF CLAIM

VS.
PHH Mortgage REGISTERED MAIL NO.

1 Mortgage Way.

 

MT Laurel NJ, 08054

Defendant,

FINAL NOTICE OF DEFAULT * NOTICE TO CEASE AND
DESIST IN DEFENDANT’S FRAUDULANT ACTIVITIES *
FINAL NOTICE OF RELEASE OF CLAIM * PLAINTIFF’S
FINAL NOTICE OF UN-REBUTTED AFFIDAVIT AND
DECLARATION OF THESE FACTS

Reference TIN# XX-XXXXXXX
Account No. 7131401882

 

Plaintiff, Karie A. Simmons, does hereby “lawfully notice” PHH Mortgage that, for the
record, as of this date, they have “once again willfully failed to file” their “Proof of Claim” in
the above listed Bankruptcy Case. Defendant also, once again, failed or intentionally refused to
show up at the last scheduled 341 Creditors Meeting on May 2nd, 2022. Further, you were
lawfully put on Notice of this Pending Case via three previous Certified Letters that Plaintiff

 

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previously sent to you marked, Exhibits C, D and E in this Registered Letter. This Letter is your
“Ath and Final Notice of Your Default”, to remind you that you had a lawful duty under the
Bankruptcy Laws to file a “Valid Proof of Claim” in this Bankruptcy Estate to protect any
lawful interest that you might have had in this Estate. Because you have not filed a lawful or
valid “Proof of Claim” within the time the law required you to do so, your silence, your
non-performance, your Bad Faith in this matter is the lawful evidence and proof that the
Defendant in this case has Acquiesced by default, and that they have no lawful claim or
valid interest in the specific Bankruptcy Estate within this Case.

This letter is also your Final Notice to file a “RELEASE OF CLAIM”
IMMEDIATELY, in the interest of the Plaintiff within this specific case. Or if the Plaintiff
in this case does not receive this “Release of Claim” from the Defendant within the next 10
days from the date of this Notice, the PLAINTIFF IN THIS CASE WILL EXERCISE HER
RIGHT, AND FILE A MOTION WITH THE BANKRUPTCY COURT, AND PETITION
THE COURT TO HAVE DEFENDANT’S ALLEGED SECURE DEBT LAWFULLY
DISCHARGED IN FULL, TO PROTECT THE PLAINTIFF’S INTEREST IN HER
ESTATE.

Therefore, the only documentation that is demanded or required from you at this time, is
that you file your “Release of Claim”, as you have waived your legal right to file a lawful
“PROOF OF CLAIM”. PHH Mortgage is now in “Administrative Default”, and has
acquiesced by its silence and its non-performance, and by these actions, the Defendant does not
at this time have any lawful standing or basis to bring forth any lawful remedies, or claims. The
Defendant in this instant case would have been entitled to claim lawful remedies, had the
Defendant timely filed their “PROOF OF CLAIM” within the time allowed within this
Bankruptcy Case. However, as the record shows, the Defendant PHH Mortgage has failed to do
so. Therefore, this final lawful action of voluntarily “Releasing your interest or Claim” needs
to be completed by your lawfully appointed legal representative immediately, within the next 10
days from the Date of this “Final Notice of Default”.

Defendant’s “willful failure to respond” to this “Final Notice of Default” will be taken
by the Plaintiff as a Dishonor, in that the Defendant is and has been acting in Bad Faith in this
matter. Further, Defendant’s Silence and their Non-performance will now be used as evidence by
the Plaintiff that the Defendant in this Case has acquiesced in this matter. Therefore, it will be
treated as an Administrative Default, per the Administrative Procedures Act of 1946. Again, if
Defendant “fails to respond” voluntarily within the time allowed in this “Final Notice of
Default”, Defendant’s silence will give the Plaintiff in this instant case the lawful right to file a
motion or to Petition the Court within this Bankruptcy Case. This action will provide the
Plaintiff with the lawful basis for the DEFENDANT’S ALLEGED SECURED DEBT to be
LAWFULLY DISCHARGED, TO PROTECT THE PLAINTIFF’S INTEREST IN HER
ESTATE.

Defendant’s “willful failure to produce” the Original “WET INK” Signature on the
Original Promissory note has been taken by the Plaintiff as a Dishonor, and that the Defendant

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is and has been acting in Bad Faith and in Dishonor in every step of these Bankruptcy
proceedings.

Further, Defendant’s “willful failure to show up” once again, for the 2™ time, at the 341
Creditors meeting on May 24, 2022, shows that the Defendant’s in this case have been
continually and consistently acting in “Bad Faith and in Dishonor”, and these facts will now be
used by the Plaintiff in this case as lawful evidence that PHH Mortgagehas acquiesced by there
silence and their non-performance in this matter, therefore, these actions and inactions will now
also be treated as an “Administrative Default”, as per the Administrative Procedures Act of
1946.

Defendant’s “willful failure to produce” the lawful evidence that they are in fact the
lawful bona-fide Secured Creditor or a lawful Note Holder of Due Course has been taken by
the Plaintiff in this case as a Dishonor, and that the Defendant is and has been acting in “Bad
Faith and Dishonor” in every step in these Bankruptcy proceedings.

Defendant’s “willful failure to produce” their GAAP Book entry as evidence of their
debit of the Creditor’s transactions in this case, has now become lawful evidence that the
Defendant in this case has been acting in “Bad Faith and Dishonor” in every step in these
Bankruptcy Proceedings.

Defendant’s “willful failure to produce” the required documentation that was lawfully
required of them, which was listed and outlined in the past three CERTIFIED or Registered
MAILINGS, has become the lawful evidence that the Defendant’s Secured Creditor position in
this matter lacked the necessary lawful elements for the Defendant to file a “Valid Proof of
Claim”, thereby committing Civil Fraud, in this Chapter 13 Bankruptcy Case. (See Exhibit A)

Therefore, Defendant’s “willful failure to produce”, or by Defendant’s “Unwillingness
to Stipulate” in this instant Bankruptcy Case that the Defendant is in fact:

1) A lawful “Note Holder of Due Course”.

2) A lawful Secured Creditor as the Defendant has willfully refused to provide their
“GAAP Book Entry” as evidence of Defendant’s debit within this Bankruptcy.

3) Unwilling to produce “lawful Wet Ink Signature” on the original note as required by
law.

4) Unwilling or unlawfully refusing to file a “Proof of Claim” under penalty of perjury
in this instant Bankruptcy Case, to defend their Secured Creditors position.

Because of these documented facts listed above, the Defendant in this case has violated
the requirements of the TILA, in this Bankruptcy Case. Defendant’s Actions, of Silence, Bad
Faith, Dishonor, Non-performance, and then finally Acquiescing to all the facts stated above in
this Bankruptcy Case have also provided the necessary and lawful “Prima Facie” evidence that
the Defendant has been attempting to collect money from the Plaintiff in the past, on the basis of
Criminal and Civil Fraud. (See Definition of Fraud in Exhibit A)

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Now to the final question of PHH Mortgage’s alleged Secured Creditors Debt in this
instant Bankruptcy Case. Plaintiff claims that because of Defendant’s Actions or inactions and
the documented facts in this instant Case, Defendant’s alleged secured debt in this Chapter 13
Bankruptcy is hereby moot. Therefore, Plaintiff believes that said Debt can be lawfully
discharged by the Court within this Bankruptcy Case, because of the Defendant’s “willful
failure to defend” its alleged Secured Creditors Debt, when PHH Mortgage was lawfully
notified three times via Certified or Registered Mail that it was required to do so by Law.
Therefore, the Defendant has forfeited their lawful right to claim any right to do so now, and or
in any future foreclosure actions that might be pursued by the Defendant.

In closing, this “Final Notice of Default and Cease and Desist” will lawfully take
effect, unless “PHH Mortgage” files an action in this instant Bankruptcy Case within the
next 10 days from receipt of this “Final Notice of Default”. At that time, this “Final Notice
of Default” and the accompanying “Final Notice of Unrebutted Affidavit and Declaration
of these Facts” (See Exhibit B) will become the “Judgment in Commerce”, and PHH
Mortgage will no longer have any lawful or valid claim over the Plaintiff's Estate.

Sincerely,

3 \ on’ Date | SS] | | Le
* ] |
Katie A . Simmons, Plaintiff

Enclosed Exhibits:

Exhibit A. Definitions of Fraud

Exhibit B. Plaintiffs Final Notice of Unrebutted Affidavit and Declaration of these Facts.
Exhibit C: Plaintiffs 1S Notice to PHH Mortgage.

Exhibit D. Plaintiffs 2" Notice to PHH Mortgage.

Exhibit E. Plaintiffs 3“ Notice to PHH Mortgage.

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the previous four pages of
this FINAL NOTICE OF DEFAULT * NOTICE TO CEASE AND DESIST
IN YOUR FRAUDULENT ACTIVITIES * FINAL NOTICE OF RELEASE
OF CLAIM * PLAINTIFF’S FINAL NOTICE OF UNREBUTTED
AFFIDAVIT AND DECLARATION OF THESE FACTS” has been sent to
PHH Mortgage by way of REGISTERED MAIL to Defendants at their last
known address: PHH Mortgage, 1 Mortgage way MT Laurel NJ, 08054 on the
11" day of May, 2022.

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Kari’ A. Simmons

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Witness

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EXHIBIT A

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Definition of “FRAUD”?

 

Wolters Kiower

 

INTERNAL REVENUE CODE (TITLE 26)
Definition of “Fraud”:

25.1.1.2 (01-23-2014) Definition of Fraud

1: Fraud is deception by misrepresentation: of material facts,
or silence when good faith requires expression, which
results in material damage to one who relies on it and has
the right to rely on it.Simply. stated, itis obtaining
something of value from someone else through deceit.

2. Tax fraud is often defined as an intentional wrongdoing,
on the part of a taxpayer, with the specific purpose of
evading a tax known or believed to be owing. ...

 

 

BLACK’S LAW DICTIONARY
Definition of “Fraud”:

An intentional perversion of truth for the purpose of inducing
another in reliance upon it to part with some valuable thing
belonging to him or to surrender a legal right. A false
representation of a matter of fact, whether by words or by conduct,
by false or misleading allegations, or by concealment ofthat which
should have been disclosed, which deceives and is intended to
deceive another so that he shall act upon it to his legal injury...
“Bad faith” and “fraud” are synonymous, and also synonyms of
dishonesty, infidelity, faithlessness, perfidy, unfairness, etc.

 

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THE MERRIAM-WEBSTER DICTIONARY
Definition of “Fraud”: (frdd), 7.

1. Deceit or trickery-perpetuated for profit orto gain some unfair or
dishonest. advantage. 2. a particular instance or such deceit or

__ trickery : mail fraud: election fraud. 3. something that is not what

it pretends: The relief program is a fraud. 4. a deceitful person:
imposer.
~—Syn. See DECEIT

 

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INTERNET SEARCH
Definition of “Fraud”: noun: fraud; plural noun: frauds

1. Wrongful or.criminal deception intended to result in financial-or

personal gain.
Similar: fraudulence, cheating, swindling, trickery, deceit,
deception, double-dealing, treachery, embezzlement, monkey
business, funny business, crookedness, hanky-panky,
shenanigans, flimflam, monkeyshines, trick, cheat, hoax, ruse,
swindle, racket, scam, con, rip-off, leg-pull, sting, gyp, kate,
diddle, fiddle, swizzle, boondoggle, hustle, grift, etc.

 

 

TAB F PAGE 1

 

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EXHIBIT B

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I, Karie A. Simmons, residing at 11127 NE 162™ St., Bothell, WA, herein
referred to as and incorporated into this Affidavit as, “Affiant”, do solemnly affirm
and declare to the best of my abilities, verify, and state as follows:

1. Affiant is competent to state the matters set forth herein, and;
2. Affiant has first-hand personal knowledge of the facts stated herein, and;

3. Affiant states that all the facts stated herein are true, correct, and complete
to the best of Affiant’s knowledge. The information that is stated in Affiant’s
FINAL NOTICE OF DEFAULT and AFFIANT’S FINAL NOTICE OF
UNREBUTTED AFFIDAVIT AND DECLARATION OF THESE FACTS is
accurately stated. If called upon as a witness, Affiant will testify to the veracity of
Affiant’s personal understandings and reasons for the drafting of this sworn Un-
Rebutted affidavit, and;

4, Affiant has acted in “Good Faith and in Honor” by notifying PHH
MORTGAGE with this Unrebutted Affidavit that needs to immediately File their
“Release of Claim” in Affiant’s bankruptcy Case No. 2210270, within the 10 days
from the date that PHH MORTGAGE receives this Notice, to voluntarily file
their “Release of Claim”. If PHH MORTGAGE “willfully fails to produce” the
“Release of Claim” to the bankruptcy Court in the time allowed, “PHH
MORTGAGE ” will then be in Administrative Default, and;

5, Affiant next states that this inaction in no. 4 would create a “tacit
agreement” in which PHH MORTGAGE would acquiesce by their silence and
or their non-response when required to do so, means tacit acceptance. (See Black’s
Law Dictionary 4" Edition) PHH MORTGAGE s inaction will then allow Affiant
the right to seek a lawful remedy, and file a motion with the bankruptcy Court, to
petition the Court to have “PHH MORTGAGE ’s” alleged “Secured Debt” to be

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lawfully discharged within the instant bankruptcy Case, to protect Affiant’s lawful
interest in her Estate, and;

6. Affiant has consistently Acted in “Good faith and in Honor in this
Case” by sending PHH MORTGAGE three previous CERTIFIED and or
REGISTERED MAIL NOTICES, as well as Affiant’s Sworn Affidavits that are
enclosed and attached herein as Exhibits C, D and E to insure that “PHH
MORTGAGE ” has been timely notified of all aspects and important dates of
Affiant’s current “Chapter 13 bankruptcy” status, and;

7. Affiant states that, as of today’s date, PHH MORTGAGE and or their
legal Representatives have remained “Absolutely Silent” to Affiant’s three
previous CERTIFIED or REGISTERED MAIL NOTICES, and all of Affiant’s
Sworn Affidavits, and Affiant’s Unrebutted Affidavits. To this date, PHH
MORTGAGE has “Willfully refused to respond” to all of Affiants written
correspondences, and;

8. Affiant has therefore has accepted PHH MORTGAGE ’’s Silence, their
Non-Response, their Non-Rebuttal to all of Affiant’s Legal Notices, Affiant’s
Sworn Affidavits and Affiant’s Sworn Unrebutted Affidavits that Affiant timely
filed and served upon PHH MORTGAGE , which are all listed in Exhibits C, D
and E of this “Final Notice of Default and Affiant’s Final Notice of Unrebutted
Affidavit and Declaration of these Facts”, and;

9. Because of these actions and or inactions Affiant hereby accepts PHH
MORTGAGE’’s “willfull failure to timely respond” as required by law. These
inactions which have now become lawful evidence, that PHH MORTGAGE and
or their legal Representatives have “lawfully acquiesced” via “Tacit Agreement”
to Affiant’s Affidavit’s and Unrebutted Affidavit’s, and;

10. Because of PHH MORTGAGE ’’s “willful failure to appear” at
Affiant’s “Chapter 13 bankruptcy” and defend their alleged Secure Creditors
Claim in Affiant’s two 341 Creditors meetings, and PHH MORTGAGE ’s “willful
failure to timely file their Proof of Claim” as required by law, these actions and
inactions have now become lawful evidence, that “PHH MORTGAGE ” and or
their legal Representatives have “lawfully acquiesced” via “Tacit Agreement” to
all the matters as outlined within the pages of all of Affiant’s previous Legal _
Notices, Affiant’s Sworn Affidavits, Affiant’s Unrebutted Affidavit’s and all of
Affiant’s CERTIFIED AND REGISTERED MAILINGS that are enclosed and
attached to this Unrebutted Affidavit marked as Exhibits C, D and E, and;

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11. Affiant further states that an “Un-Rebutted Affidavit”, after 10 days
from the date it is received, stands as “Truth in Commerce”. Further, an “Un-
Rebutted Affidavit” after 10 days from the date of its receipt becomes the
“Judgment in Commerce”. (See Exhibit 1) Therefore, because of “PHH
MORTGAGE ” and or their legal Representatives absolute Silence, their Non-
Response, their Non-Rebuttal, of Affiant’s Correspondence, and Affiant’s Sworn
Affidavits, Affiant’s Unrebutted Affidavits, as well as the ’s “Willful Failure to
File their Proof of Claim” or even show up for their last two 341 Creditors
Meetings, PHH MORTGAGE from this point forward, has no lawful Standing in
this instant Chapter 13 bankruptcy Case, and;

12. Further, PHH MORTGAGE in their actions and or inactions have
created a lawful “Tacit Agreement” between the two parties, because of their
silence and non-performance and all the Information that was within Affiant’s
three Correspondence’s that were sent to PHH MORTGAGE , now “Stands as
the truth”, and has become the standing Lawful Evidence in this Chapter 13
bankruptcy Case and the Un-Rebutted Affidavits have now become the
“Judgment in Commerce”, (See Exhibit 1) and;

13. In conclusion, Affiant further states and reiterates, that the Unanswered
“UN-REBUTTED AFFIDAVITS” and the documented “Unanswered
Correspondence” that are attached to this Unrebutted Affidavit in this Mailing,
now become and stand as lawfully admissible relevant evidence, and the true
evidentiary facts in Affiant’s “Chapter 13 bankruptcy Case”. As of the date of
this Affidavit, these documents have now become the “Unchallenged Factual
Evidence” in its “Un-Rebutted Written Form”, and;

14. It is further agreed by the parties that by this “Tacit Agreement” that
PHH MORTGAGE has lawfully Acquiesced to all this, by their actions and or
their inactions, and that there is no longer any “Argument or Controversy” on
the facts, the language or the word usage in Affiant’s past three CERTIFIED
AND REGESTERED PHH MORTGAGE letters, and all the Exhibits that
were attached to them, Affiant’s past two Affidavits, Affiant’s past
Unrebutted Affidavit now “Stands as the Truth” and the Unrebutted
Affidavits now stand as the “Judgment in Commerce” on this Matter (See
Exhibit 1) and;

15. In closing, “it is also agreed by all parties” that all this information
that has now been filed within this instant Chapter 13 bankruptcy Case, can now be

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lawfully used as the relevant evidence and the evidentiary facts, that will be used
by the Affiant for future Motions and Petitions, to be filed by Affiant in this instant
Case and other Cases in the future, if necessary.

FURTHER AFFIANT SAYETH NAUGHT.

Under the PENALTY OF PERJURY, under the laws of the State of
Washington, I certify that this “UN-REBUTTED AFFIDAVIT”, FINAL
NOTICE OF DEFAULT AND AFFIANT’S FINAL NOTICE OF
UNREBUTTED AFFIDAVIT AND DECLARATION OF THESE FACT
identified above, is true and correct, and that the four page Letter that I drafted
entitled “FINAL NOTICE OF DEFAULT * NOTICE TO CEASE AND
DESIST IN DEFENDANT’S FRAUDULANT ACTIVITIES * is to the best of
my understanding and knowledge has been done in “Good Faith and in Honor”.
I have also sent this Affidavit and my “NOTICE OF DEFAULT” letter to
provide PHH MORTGAGE with detailed instructions and an outline of the time
they have to voluntarily file their “RELEASE OF CLAIM” within Affiant’s
instant Chapter 13 bankruptcy Case.

Date

 

Karie A. Simmons

Exhibit 1 Enclosed: Two page legal research from CASEMINE law research on
the “Maxims of Law” and up to date Court Case research on “Affidavits and Un-
Rebutted Affidavits”.

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CASEMINE* RESEARCH
On Affidavits and Unrebutted Affidavits

1. Cite text. Cases cited for the legal proposition you have searched for.

In this case.....Plaintiff asserts that the Court is bound by a variety of
“maxims of law”, such as an unrebutted affidavit stands as....UCC’s “underlying
purposes and policies”. Va. Code Ann §§ 8.1A-204,-201(16), -103. None of these
provisions suggests that failure to respond to an “Affidavit of Truth” within ten
days constitutes an....state a claim upon which relief can be granted. Accepting all
factual allegations in Plaintiffs complaint as true and drawing all reasonable
inferences in her favor, I find that the Plaintiff has pleaded ...

Motion to dismiss: Granted

 

2. Bey v. Stumpf
COURT: UNITED STATES OF DISTRICT COURT, D. NEW JERSY

DATE: OCT 17, 2001 CITED BY: 26 CORAM:1

In this case...... Unrebutted Affidavit Stands as Truth in Commerce *
An Unrebutted Affidavit Becomes the Judgment in Commerce * He Who
Leaves the Battlefield First Loses..... this Writ/Petition has not rebutted and this
issue stands as Judgment. Again! * In Commerce Truth is Sovereign * Truth
is Expressed in the Form of an Affidavit......Stands as Truth in Commerce *
An Unrebutted Affidavit becomes the Judgment in Commerce * He who
leaves the Battlefield first loses......

 

3. Kapenda v. Parker
COURT: COURT OF APPEALS OF OHIO TENTH APPELLATE DISTRIC

DATE: MAY 7, 2019 CITED BY: 0 CORAM: 1

In this case...... 6:3-5 19:11-13; Num. 30:2; Matt. The fifth (5°) maxim of
law says, An unrebutted affidavit stands as truth in commerce Exhibit (C) An
injunction was given to prosecutor Dyal Kenner..... Magistrate on April 9, 2018,
and argues that his submittal of unrebutted affidavits........

 

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4. Black v. Van Schiver

COURT: UNITED STATES DISTRICT COURT EASTERN DISTRICT OF
CALIFORNIA

DATE: SEPT 1, 2016 Motion to dismiss: Granted

In this case..... Truth is expressed in the form of an Affidavit. An
unrebutted affidavit stands as truth in commerce. An unrebutted affidavit
becomes judgment. (Doc. No. 1 at 14-15.) Finally, plaintiff asserts that one of the
exhibits submitted with his complaint is his “Affidavit of Truth”........

 

5. Adkins v. Kentuchy

COURT: UNITED STATES DISTRICT COURT WESTERN DISTRICT OF
KENTUCKY LOUISVILLE DIVISION

DATE: DEC 12 2018 CORAM: 1

 

In this case...... it discusses an affidavit which Petitioner apparently signed.
It states, “Truth as a valid statement of reality is sovereign in commerce; An
unrebutted affidavit or declaration stands as.... An unrebutted affidavit is acted
upon as the judgement in commerce; Guaranteed — All men/women shall have a
remedy by the due course of law... Elizabeth Adkins initiated this pro se action by
filling a document caption as a “Writ of Execution or Judicial Order Enforcing
Judgment

 

6. Chyba v. First Fin, Asset Mgmt. Inc

COURT: UNITED STATES DISTRICT COURT SOUTHERN DISTRICT OF
CALIFORNIA DATE: APR 30, 2013 CORAM: 1

In this case.... Third, Plaintiff claims that the Defendant did not rebut her
Affidavit with an affidavit, and that an unrebutted affidavit stands as truth. ...

Plaintiff’s Affidavit as an initial matter, this Court addresses a dispute between the
parties concerning the propriety of evidence offered by Plaintiff. As part of her
Opposition to... counsel was submitted as evidence. Second, plaintiff claims that
Defendant did not rebut Plaintiff's affidavit in a timely manner proper format
under the local rules and......

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EXHIBIT C

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IN THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE
CHAPTER 13 BANKRUPTCY

Date March 18 2022 Case no. 2210270

Karie A. Simmons PETITION FOR A VERIFICATION OF

11127 NE 162% st. PROOF OF CLAIM OF YOUR

Bothell, WA 98011 DEBT OR INTREST IN THIS REAL
Plaintiff, PROPERTY OR RELEASE OF CLAIM
vs.

PHH Mortgage

1 Mortgage Way
Mt. Laurel, NJ 08054

Defendant,

PETITION FOR A VERIFICATION OF DEBT

Reference TIN# XX-XXXXXXX
Account No. 7131401882

Plaintiff, Karie A. Simmons, does hereby lawfully request verification from PHH
Mortgage of the alleged debt, encumbrance, or interest in or on the property referenced in the
PHH Account No. above, in the form of a “Proof of Claim”. This documentation is necessary
in order to establish whether PHH Mortgage, in this Case, has a lawful standing to bring forth
remedies entitled to the Defendant in this instant Case. The Plaintiff in this instant case does
hereby lawfully request the Defendant listed in this Case No. 2210270 to produce the following
documents (listed on page 2), to be listed within your “PROOF OF CLAIM” as lawful
evidence and verification of your claim. This action needs to be completed within the next 15
days from the Date of this Notice for the purpose of verification of the debt, encumbrance or
interest in the real property noted above or your written “Release of Claim” to this property.

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1. Produce the Original “WET INK” Signature Promissory note signed by the
Defendant Karie A. Simmons in association with the loan pursuant to USC Title 18, Part 1,
Chapter 101 § 2071.

2. Provide proof that the Defendant is in fact the Lawful Note Holder in Due Course,
and that PHH Mortgage has a “lawful standing as a Party of Interest” in the original
Promissory Note. This is because the Plaintiff has reason to believe that the Defendant might
have bought an interest in the alleged Promissory Note, under a Mortgage-backed Securities
Interest from another Mortgage Company, and that the Defendant is not a lawful party to, or
within, the original Promissory Note.

3. Defendant “must stipulate to Plaintiff in this case via a Lawful Affidavit” signed
under the “Penalty of Perjury” by someone who can be lawfully subpoenaed, who is able to
show Proof that the Defendant in this instant case is in fact a “Lawful Secured Creditor of the
original Loan/Security Instrument”. In this case, a Lawful Secured Creditor needs to show
true double entry accounting of this debt as evidence of the transaction, within the original loan
to the Plaintiff, according to the Generally Accepted Accounting Principles. (GAAP)

4. If the “Defendant is unable” to or for whatever reason cannot produce a Lawful
Proof of Claim that is signed under Penalty of Perjury, PHH Mortgage will be unable to have

any Lawful standing in this instant Case, or any other future controversy or claim concerning this
matter.

5. If the Defendant in this case is “unable to produce” a “Lawful Proof of Claim”,
signed under the Penalty of Perjury, then the Plaintiff in this Case, will pray to the Court to
ask for an Order to have the Defendant’s Alleged Debt discharged in favor of the Plaintiff.
Then Plaintiff will be free to seek whatever lawful remedies or recourses that are due to the
Plaintiff in this instant Case.

6. Defendants “failure to respond” to this letter will be taken by the Plaintiff as a Dishonor,
and that the Defendant is acting in Bad Faith in this matter. Further, Defendant’s Silence will be
used as evidence that Defendant has acquiesced in this matter, and it will be treated as an
Administrative Default, per the Administrative Procedures Act of 1946. Further, if Defendant
“fails to respond” within the time allowed in this Notice, Defendant’s “Alleged Secured Debt”
will have no legal standing in this instant Case before this Bankruptcy Court.

7. Defendant’s “failure to produce” the Original “WET INK” Signature on the Original
Promissory note will be taken by the Plaintiff as a Dishonor, and that the Defendant is acting in
Bad Faith. Further, Defendant’s Silence will be used as evidence that PHH Mortgage has
acquiesced in this matter, and it will be treated as an “Administrative Default” as per the
Administrative Procedures Act of 1946, In closing, Defendant’s “failure to produce” the
documentation requested in this Petition will become the evidence that the Defendant’s Secured
Creditor position in this matter, lacks the necessary lawful elements for a “Valid Proof of
Claim”, and is therefore moot, in this instant Bankruptcy Case.

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Sincerely,

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Karie A. Singmons, Plaintiff

CERTIFICATE OF SERVICE

IT HERBY CERTIFY that a true and correct copy of the previous two pages
of this PETITION FOR A VERIFICATION OF DEBT has been sent to PHH
MORTGAGE by way of REGISTERED MAIL to Defendant’s at their last
known address: 1 Mortgage Way Mt. Laurel NJ, 08054 on this __ day of March
2022.

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Karie A Simmons

 

Witness

REGISTERED MAIL NO.

 

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f.

AFFIDAVIT AND DECLARATION OF FACTS

OF “PETITION FOR A VERIFICATION OF DEBT”

I, Karie A. Simmons, residing at 11127 NE 162" St., Bothell, WA, herein referred
to as and incorporated into this Affidavit as, “Affiant”, does solemnly affirm,
declare to the best of her abilities, verify, and state as follows:

1. Affiant is competent to state the matters set forth herein, and;
2. Affiant has first-hand personal knowledge of the facts stated herein, and;

3. Affiant states that all the fact stated herein are true, correct, and complete
to the best of my knowledge of the information that is stated in my PETITION
FOR A VERIFICATION OF DEBT that I authored on March 18/2022. Lf called
upon as a witness, Affiant will testify to the veracity of my personal
understandings and reasons for the drafting of this document.

4, Affiant has acted in “Good Faith and in Honor” by sending PHH
Mortgage a lawful copy of this document to allow them to have the time that they
need to File their “Proof of Claim” in my Bankruptcy Case No. 2210270. I have
also given them a detailed outline of information and the evidence that they will
need to produce in order to substantiate their claim and to provide the necessary

lawful elements for them to provide a “Valid Claim within their Proof of Claim”
within my instant Bankruptcy Case.

FURTHER AFFIANT SAYETH NAUGHT.

“Under the PENALTY OF PERJURY, under the laws of the State of Washington,
I certify that this “AFFIDAVIT AND DECLARATION OF FACTS, identified
above, is true and correct, and that my 3-page Letter entitled PETITION FOR A
VERIFICATION OF DEBT, that I drafted is to the best of my understanding and
knowledge is done in Good Faith. I have sent it in advance to provide PHH
Mortgage with a detailed outline of the necessary lawful elements that they will

need, in order to substantiate their “Proof of Claim” within my instant Bankruptcy
Case.

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Karke A. Simmons

 

Exhibit enclosed: 3-page Letter from Karie A. Simmons to PHH Mortgage.

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EXHIBIT D

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IN THE WESTERN DISTRICT OF WASHINGTON
AT SEATTLE CHAPTER 13 BANKRUPTCY

Date April 8°, 2022 Case no. 2210270
Karie A. Simmons NOTICE OF DEFAULT AND DEMAND
11127 NE 162% St. THAT YOU FILE YOUR “PROOF OF
Bothell, WA 98011 CLAIM” OR “RELEASE OF CLAIM”
Plaintiff,
VS.
PHH MORTGAGE REGISTERED MAIL NO.

1 Mortgage Way

 

Mt. Laurel, NJ 08054
Defendant,

NOTICE OF DEFAULT AND DEMAND THAT YOU
FILE YOUR “PROOF OF CLAIM” OR “RELEASE OF CLAIM”

Reference TIN# XX-XXXXXXX
Account No. 7131401882

Plaintiff, Karie A. Simmons, does hereby “lawfully notice” PHH MORTGAGE that you

failed to file your “Proof of Claim” in the above listed Bankruptcy Case. You also failed to
show up at your 341 Creditors Meeting on April 4, 2022. Further, you were lawfully put on

Notice of this Pending Case via a Certified Letter, that I previously sent you marked, Exhibit A
in this letter. This is your “2"! Notice and Demand”, to remind you that if you do have a lawful
claim in this Bankruptcy Estate listed above, that you must immediately file your “Proof of
Claim” within the next 10 days from the date of this Certified letter to secure your lien,
encumbrance or your lawful interest in or on the property referenced in this Bankruptcy Case No.

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2210270. If you do not have a lawful or valid claim, then file a “RELEASE OF CLAIM?” in
the interest of the Plaintiff within this case.

This documentation that is demanded is necessary in order to establish whether PHH
MORTGAGE, does or does not have a lawful standing to bring forth remedies entitled to the
Defendant in this instant Case. The Plaintiff in this instant case does hereby lawfully request the
Defendant listed in this Case No. 2210270 to also produce the following documents listed
below in numbers 1-7, These documents must be listed or attached to your “PROOF OF
CLAIM” as lawful evidence to verify and validate your claim. Failure to do so, in the time
the law requires you to do so, could result in the Lawful discharge of your alleged debt that
is listed on the previous debt related documents that you have sent me, and that I have
personally filed in this Bankruptcy Case.

This lawful action needs to be completed by you or your lawfully appointed legal representative
immediately, within the next 10 days from the Date of this Notice, for the purpose of validation
and verification of your alleged debt, encumbrance or interest in the real property noted above or
your written and signed “Release of Claim” to this property and or estate.

1. Produce the Original “WET INK” Signature Promissory note signed by the

Defendant Karie A. Simmons in association with the loan pursuant to USC Title 18, Part 1,
Chapter 101 § 2071.

2. Provide proof that the Defendant is in fact the Lawful Note Holder in Due Course
and that PHH MORTGAGE has a “lawful standing as a Party of Interest” in the original
Promissory Note. This is because the Plaintiff has reason to believe that the Defendant might
have bought an interest in the alleged Promissory Note, under a Mortgage backed Securities

Interest from another Mortgage Company, that the Defendant is not a lawful party to, or within,
the original Promissory Note,

3, Defendant “must stipulate to Plaintiff in this case via a Lawful Affidavit” signed

under the “Penalty of Perjury” by someone who can be lawfully subpoenaed, who is able to

show documented Proof and Bona Fided evidence that the Defendant in this instant case is in

fact a “Lawful Secured Creditor of the original Loan/Security Instrument". In this case, a
Lawful Secured Creditor needs to also show true double entry accounting of this debt as
evidence of the transaction, within the original loan to the Plaintiff and the Bankruptcy Court,
according to the Generally Accepted Accounting Principles. (GAAP)

 

4, If the “Defendant is unable” to or for whatever reason cannot produce a Lawful

“Proof of Claim” that is signed under Penalty of Perjury, PHH MORTGAGE will be unable
to have any Lawful standing in this instant Case, or any other future controversy or claim
concerning this matter.

5. If the Defendant in this case is “unable to produce” a “Lawful Proof of Claim’’,
signed under the Penalty of Perjury, then the Plaintiff in this Case, will pray to the Court

and ask for an Order to have the Defendant’s Alleged Debt discharged in favor of the

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Plaintiff. Then Plaintiff will be free to seek whatever lawful remedies or resources that are due to
the Plaintiff in this instant Case.

6. Defendant’s “failure to respond” to this letter will be taken by the Plaintiff as a Dishonor,
and that the Defendant is acting in Bad Faith in this matter. Further, Defendant’s Silence will be
used as evidence that Defendant has acquiesced in this matter, and it will be treated as an
Administrative Default, per the Administrative Procedures Act of 1946. Further, if Defendant
“fails to respond” within the time allowed in this Notice, Defendant’s “Alleged Secured Debt”
will have no legal standing in this instant Case before this Bankruptcy Court.

7. Defendant’s “failure to produce” the Original “WET INK” Signature on the Original
Promissory note will be taken by the Plaintiff as a Dishonor, and that the Defendant is acting in
Bad Faith. Further, Defendant’s Silence will be used as evidence that PHH MORTGAGE has
acquiesced in this matter, and it will be treated as an “Administrative Default” as per the
Administrative Procedures Act of 1946. In closing, Defendant’s “failure to produce” the
documentation requested in this Petition will become the evidence that the Defendant’s Secured
Creditor position in this matter, lacks the necessary lawful elements for a “Valid Proof of

Claim”, and is therefore moot, and lawfully dischargeable within this instant Bankruptcy Case.

Sincerely,

   

 

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KarielA. Simmons, Plaintiff

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CERTIFICATE OF SERVICE

THEREBY CERTIFY that a true and correct copy of the previous three pages of
this NOTICE OF DEFAULT AND DEMAND THAT YOU FILE YOUR
“PROOF OF CLAIM” OR “RELEASE OF CLAIM” has been sent to PHH
MORTGAGE by way of REGISTERED MAIL to Defendant’s at their last known
address: PHH MORTGAGE, 1 Mortgage Way, Mt, Laurel, NJ 08054 on this 8"

 

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AFFIDAVIT AND DECLARATION OF FACTS

OF “NOTICE OF DEFAULT AND DEMAND” THAT YOU
FILE YOUR “PROOF OF CLAIM” OR “RELEASE OF CLAIM”

I, Karie A. Simmons, residing at 11127 NE 162" St., Bothell, WA, herein referred
to as and incorporated into this Affidavit as, “Affiant”, does solemnly affirm,
declare to the best of her abilities, verify, and state as follows:

1. Affiant is competent to state the matters set forth herein, and;
2. Affiant has first-hand personal knowledge of the facts stated herein, and;

3. Affiant states that all the facts stated herein are true, correct, and complete
to the best of my knowledge of the information that is stated in my NOTICE OF
DEFAULT AND DEMAND” THAT YOU FILE YOUR “PROOF OF
CLAIM” OR “RELEASE OF CLAIM” that I authored on April 8" /2022. If
called upon as a witness, Affiant will testify to the veracity of my personal
understandings and reasons for the drafting of this document.

4. Affiant has acted in “Good Faith and in Honor” by sending PHH
MORTGAGE a lawful copy of the document identified in paragraph above, to
allow them to have the time that they need to File their “Proof of Claim” or
“Release of Claim” in my Bankruptcy Case No. 2210270. I have also given the
Bank a detailed outline of information and the evidence that they will need to
produce and attach to their “Proof of Claim” or “Release of Claim”, in order to
substantiate their claim and to provide the necessary lawful elements for them to
provide a “Valid Proof of Claim” within my instant Bankruptcy Case.

FURTHER AFFIANT SAYETH NAUGHT.

Under the PENALTY OF PERJURY, under the laws of the State of Washington, I
certify that this “AFFIDAVIT AND DECLARATION OF FACTS”, identified
above, is true and correct, and that my 3-page Letter that I drafted entitled
“NOTICE OF DEFAULT AND DEMAND” THAT YOU FILE YOUR
“PROOF OF CLAIM” OR “RELEASE OF CLAIM” is to the best of my

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understanding and knowledge done in Good Faith. I have sent this Affidavit and
my NOTICE OF DEFAULT AND DEMAND letter to provide PHH
MORTGAGE with a detailed outline of the necessary lawful elements that they

will need, in order to substantiate their “Proof of Claim” or their “Release of
Claim”, within my instant Bankruptcy Case.

—~
Mu SStineeend Date Ala jaz

Karie A. Simmons

Exhibit A enclosed: 3-page Letter from Karie A. Simmons that was sent via
REGISTERED Mail to PHH MORTGAGE.

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EXHIBIT E

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IN THE WESTERN DISTRICT OF WASHINGTON
AT SEATTLE CHAPTER 13 BANKRUPTCY

Date April 19+, 2022 Case no. 2210270
Karie A. Simmons FINAL NOTICE OF DEFAULT AND MY
11127 NE 162» St. UN-REBUTTED AFFIDAVIT AND
Bothell, WA 98011 DECLARATION OF THESE FACTS
Plaintiff,
vs.
PHH Mortgage REGISTERED MAIL NO.

1 Mortgage Way
MT Laurel NJ, 08054
Defendant,
NOTICE OF DEFAULT AND MY UN-REBUTTED
“AFFIDAVIT _AND DECLARATION OF THESE FACTS”

 

Reference TIN# XX-XXXXXXX
Account No. 7131401882

Plaintiff, Karie A. Simmons, does hereby “lawfully notice” PHH Mortgage, that as of
this date you failed to file your “Proof of Claim” in the above listed Bankruptcy Case. You also
failed to show up at your 341 Creditors Meeting on April 11, 2022. Further, you were lawfully
put on Notice of this Pending Case via 3 Certified Letters, that I previously sent you marked,
Exhibits A, B, and C in this letter. This is your “3- and Finial Notice of Your Default, to
remind you that you had a lawful duty under the Bankruptcy Laws to file a Valid Proof of
- Claim in this Bankruptcy Estate listed above to protect any lawful interest that you might have
had in this Estate. Because you have not filed a lawful or valid “Proof of Claim” within the
time the law required you to do so, then your nonperformance in this matter is the proof
that you have no valid or lawful interest in the specific Bankruptcy Estate. Therefore, this
is your Finial Notice to file a “RELEASE OF CLAIM” IMMEDIATELY, in the interest of
the Plaintiff within this specific case, or if the Plaintiff in this case does not receive it within
the next 10 days from the date of this Notice, the PLAINTIFF WILL EXERSIZE HER
RIGHT AND FILE A MOTION WITH THE BANKRUPTCY COURT TO HAVE
DEFENDANT’S ALLEGED DEBT LAWFULLY DISCHARGED IN FULL, TO
PROTECT THE PLAINTIFF’S INTEREST IN HER ESTATE.

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The only documentation that is demanded or required from you at this time, is the “Release of
Claim”, as you have waved your legal right to file a lawful “PROOF OF CLAIM”, PHH
Mortgage, is now in Default and has acquiesced by its silence, and does not at this time have a
lawful standing or bases to bring forth any lawful remedies that they would have been entitled to
the Defendant in this instant Case, had the Defendants filed their “PROOF OF CLAIM” within
the time allowed within this instance Bankrupt Case. This final lawful action needs to be
completed by you or your lawfully appointed legal representive immediately, within the next 10

days from the Date of this Notice, for the purpose of voluntarily “Releasing your interest or
Claim” to this property and or estate.

Defendant’s “failure to respond” to this “Notice of Default” will be taken by the
Plaintiff as a Dishonor, in that the Defendant is and has been acting in Bad Faith in this matter.
Further, Defendant’s Silence will now be used as evidence by the Plaintiff that the Defendant in
this Case has acquiesced in this matter. Therefore it will be treated as an Administrative Default,
per the Administrative Procedures Act of 1946. Further, if Defendant “fails to respond”
voluntarly within the time allowed in this “Notice of Default”, Defendant’s silence will give the
Plaintiff in this instant case the lawful right to filea MOTION WITHIN THE BANKRUPTCY
COURT TO HAVE YOUR ALLEDGED SECURED DEBT LAWFULLY DISCHARGED IN
FULL, TO PROTECT THE PLAINTIFF’S INTEREST IN HER ESTATE.

Defendant’s “failure to produce” the Original “WET INK” Signature on the
Original Promissory note has been be taken by the Plaintiff as a Dishonor, and the Defendant is
and has been acting in Bad Faith and in Dishonor in every step of the instant Bankruptcy
proceedings. Further, Defendant’s Silence by not showing up at the 341 Creditors meeting on
April 11" 2022, will now be used as evidence that PHH Mortgage has acquiesced in this matter,

and it will be treated as an “Administrative Default”, as per the Administrative Procedures Act
of 1946.

Defendant’s “failure to produce” the required documentation that was sent to “PHH
Mortgage” in the past 2 CERTIFIED or REGESTERED MAILINGS, has become the lawful
evidence that the Defendant’s Secured Creditor position in this matter lacked the necessary
lawful elements for the Defendants to file a “Valid Proof of Claim”. Therefore, the question of
“PHH Mortgage’s” aledged Secured Creditors’ Debt is hereby moot, and lawfully

dischargeable within this instant Bankruptcy Case.

Sincerely,

 

Date
Karie A. Simmons, Plaintiff
Enclosed Exhibits:
Exhibit A. Plaintiffs first Notice to PHH Mortgage.
Exhibit B. Plaintiffs 2" Notice to PHH Mortgage.
Exhibit C: Plaintiffs 3« Notice to PHH Mortgage.

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CERTIFICATE OF SERVICE

I HERBY CERTIFY that a true and correct copy of the previous two pages of this
“NOTICE OF DEFAULT AND MY UN-REBUTTED AFFIDAVIT AND
DECLARATION OF THESE FACTS?” has been sent to PHH Mortgage by way
of REGISTERED MAIL to Defendants at their last known address: PHH

Mortgage, 1 Mortgage Way MT Laurel NJ, 08054 on this 8» day of April, 2022.

 

Karie A. Simmons

 

Witness

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UN-REBUTTED AFFIDAVIT

NOTICE OF DEFAULT AND AFFIANT’S UN-REBUTTED “AFFIDAVIT
AND DECLARATION OF THESE FACTS”

I, Karie A. Simmons, residing at 11127 NE 162 St., Bothell, WA, herein
referred to as and incorporated into this Affidavit as, “Affiant”, do solemnly affirm
and declare to the best of my abilities, verify, and state as follows:

1. Affiant is competent to state the matters set forth herein, and;
2. Affiant has first-hand personal knowledge of the facts stated herein, and;

3. Affiant states that all the facts stated herein are true, correct, and complete
to the best of my knowledge, the information that is stated in my NOTICE OF
DEFAULT AND AFFIANT’S UN-REBUTTED “AFFIDAVIT AND
DECLARATION OF THESE FACTS” is accurately stated. If called upon as a
witness, Affiant will testify to the veracity of my personal understandings and
reasons for the drafting of this sworn Un-Rebutted affidavit, and;

4. Affiant has acted in “Good Faith and in Honor” by sending PHH
Mortgage a lawful copy of the document identified in the paragraph above, to
notify them that they need to immediately File their “Release of Claim” in
Affiant’s Bankruptcy Case No. 2210270, within the next 10 days from the 18 of
April 2022, to voluntarily file their “Release of Claim”. In their “failure to
produce” the “Release of Claim” to the Bankruptcy Court in the time allowed,
“PHH Mortgage” will then be in Default, therefore, acquiescing, by their silence,
which will then allow Affiant the lawful right to exercise my lawful right to seek a
lawful remedy, and file a motion with the Bankruptcy Court, to have “PHH
Mortgage’s” alleged “Secured Debt” be lawfully discharged within the instant
Bankruptcy Case, to protect Affiant’s lawful interest in her Estate, and;

5. Affiant has Acted in “Good faith and in Honor” by sending “PHH
Mortgage” three CERTIFIED and REGISTERED MAIL NOTICES, as well as
Affiant’s Sworn Affidavits that are enclosed and attached herein as Exhibits A,B,
and C, to insure that “PHH Mortgage” has been timely notified of all aspects and
important dates of Affiant’s current “Chapter 13 Bankruptcy” status, and:

6. Affiant states that, as of today’s date, “PHH Mortgage” and or their legal
Representatives have remained “Absolutely Silent” to Affiant’s three Certified

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and REGISTERED MAIL NOTICES, as well as all of Affiant’s Sworn Affidavits
that were attached to them. “PHH Mortgage” and or their legal Representatives
have willfully refused to file their “Proof of Claim” and or meet with the

appointed Bankruptcy Trustee in Affiant’s “341 Creditors Meetings” to defend
the Bank’s alleged Claim of Secured Debt, and;

7, Affiant has therefore has accepted “PHH Mortgage’s” Silence, their
Non-Response, their Non-Rebuttal of Affiant’s Sworn Affidavits and A ffiant’s
timely filed Notices that are all listed in Exhibits A, B, and C and their refusal to
appear at Affiant’s “Chapter 13 Bankruptcy” and defend their Claim in Affiant’s
estate. Therefore, their willful failure to timely file their “Proof of Claim” has
now become lawful evidence, that “PHH Mortgage” and or their legal
Representatives have “lawfully acquiesced” via “Tacit Agreement” to all the
matters as outlined within the pages of Affiant’s Sworn Affidavits and all of
Affiant’s CERTIFIED AND REGISTERED MAILINGS as listed in Affiant’s
enclosed Exhibits marked A, B, and C and:

8. In Closing, Affiant further states that an “Un-Rebutted Affidavit”, after
10 days from the date it is received, stands as “Truth in Commerce”. (See Exhibit
1) Further, an “Un-Rebutted Affidavit” becomes the “J udgment in Commerce”.
(See Exhibit 1) Therefore, because of “PHH Mortgage” and or their legal
Representatives absolute Silence, their Non-Response, their Non-Rebuttal, of .
Affiant’s Correspondence, and Affiant’s Sworn Affidavits, as well as their Willful
Failure to File their “Proof of Claim” or even show up for their 341 Creditors
Meeting, a lawful “Tacit Agreement” was created, and the Information in
Affiant’s Correspondence now “Stands as the truth, and has become the Lawful
Evidence standing as the Un-Rebutted Truth in Affiant’s Chapter 13
Bankruptcy Case”, and;

9. In conclusion, Affiant further states and reiterates, that the “UN-
REBUTTED AFFIDAVITS and the documented Unanswered Correspondence in
this Mailing now stand as lawfully admissible facts in Affiant’s “Chapter 13
Bankruptcy Case” as “Unchallenged Factual Evidence” in its Un-Rebutted
written form. It is further agreed by the parties, that there is no longer any
“Argument or Controversy” on the facts, the language or the word usage in
Affiant’s past two Affidavit and Written Correspondence, as well as this
current Affidavit, it’s written correspondence and its Exhibits now “Stand as
the Truth” and the “Judgment in Commerce” on this Matter, and can now be
lawfully used in Affiant’s instant Chapter 13 Bankruptcy Case as factual
evidence for future Motions to be filed by Affiant. (See Exhibit 1)

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FURTHER AFFIANT SAYETH NAUGHT.

Under the PENALTY OF PERJURY, under the laws of the State of Washington, I
certify that this “UN-REBUTTED AFFIDAVIT”, identified above, is true and
correct, and that the three page Letter that I drafted entitled “NOTICE OF
DEFAULT AND MY UN-RUBUTTED AFFIDAVIT AND DECLARATION
OF THESE FACTS” (See Exhibit 2) is to the best of my understanding and
knowledge done in “Good Faith and in Honor”. I have sent this Affidavit and
my “NOTICE OF DEFAULT” letter to provide PHH Mortgage with a detailed
instructions and an outline of the time they have to voluntarily file their
“RELEASE OF CLAIM” within Affiant’s instant Chapter 13 Bankruptcy Case.

Date

 

Karie A. Simmons

Exhibit 1: enclosed: Two page legal research from CASEMINE law research on

the “Maxims of Law” and up to date Court Case research on “Affidavits and Un-
Rebutted Affidavits”.

Exhibit 2: Letter dated April 18, 2022 from Karie A. Simmons that was sent via
REGISTERED Mail to PHH Mortgage.

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EXHIBIT 1

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CASEMINE RESEARCH
On Affidavits and Unrebutted Affidavits

1. Cite text. Cases cited for the legal proposition you have searched for.

In this case.....Plaintiff asserts that the Court is bound by a variety of
“maxims of law”, such as an unrebutted affidavit stands as....UCC’s “underlying
purposes and policies”. Va. Code Ann §§ 8. 1A-204,-201(16), -103. None of these
provisions suggests that failure to respond to an “Affidavit of Truth” within ten
days constitutes an....state a claim upon which relief can be granted. Accepting all
factual allegations in Plaintiff's complaint as true and drawing all reasonable
inferences in her favor, I find that the Plaintiff has pleaded ...

Motion to dismiss: Granted

2. Bey v. Stumpf
COURT: UNITED STATES OF DISTRICT COURT, D. NEW JERSY

DATE: OCT 17, 2001 CITED BY: 26 CORAM:1

In this case...... Unrebutted Affidavit Stands as Truth in Commerce *
An Unrebutted Affidavit Becomes the Judgment in Commerce * He Who
Leaves the Battlefield First Loses..... this Writ/Petition has not rebutted and this
issue stands as Judgment. Again! * In Commerce Truth is Sovereign * Truth
is Expressed in the Form of an A ffidavit......Stands as Truth in Commerce * An

Unrebutted Affidavit Becomes the Judgment in Commerce * He who leaves
the Battlefield first loses......

3. Kapenda v. Parker
COURT: COURT OF APPEALS OF OHIO TENTH APPELLATE DISTRIC

DATE: MAY 7, 2019 CITED BY: 0 CORAM: 1

In this case...... 6:3-5 19:11-13; Num. 30:2; Matt. The fifth (5") maxim of
law says, An unrebutted affidavit stands as truth in commerce Exhibit (C) An
injunction was given to prosecutor Dyal Kenner..... Magistrate on April 9, 2018,
and argues that his submittal of unrebutted affidavits........

4. Black v. Van Schiver

COURT: UNITED STATES DISTRICT COURT EASTERN DISTRICT OF
CALIFORNIA

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DATE: SEPT 1, 2016 Motion to dismiss: Granted

In this case..... Truth is expressed in the form of an Affidavit. An
unrebutted affidavit stands as truth in commerce. An unrebutted affidavit
becomes judgment. (Doc. No. 1 at 14-15.) Finally, plaintiff asserts that one of the
exhibits submitted with his complaint is his “Affidavit of Truth”........

5. Adkins y, Kentuchy

COURT: UNITED STATES DISTRICT COURT WESTERN DISTRICT OF
KENTUCKY LOUISVILLE DIVISION

DATE: DEC 12 2018 CORAM: 1

In this case...... it discusses an affidavit which Petitioner apparently
signed. It states, “Truth as a valid statement of reality is sovereign in commerce;
An unrebutted affidavit or declaration stands as.... An unrebutted affidavit is
acted upon as the judgement in commerce; Guaranteed — All men/women shall
have a remedy by the due course of law... Elizabeth Adkins initiated this pro se

action by filling a document caption as a “Writ of Execution or Judicial Order
Enforcing Judgment

6. Chyba v. First Fin. Asset Mgmt. Inc

COURT: UNITED STATES DISTRICT COURT SOUTHERN DISTRICT OF
CALIFORNIA DATE: APR 30, 2013 CORAM: 1

In this case.... Third, Plaintiff claims that the Defendant did not rebut her
Affidavit with an affidavit, and that an unrebutted affidavit stands as truth. ...

Plaintiff's Affidavit as an initial matter, this Court addresses a dispute between the
parties concerning the propriety of evidence offered by Plaintiff. As part of her
Opposition to... counsel was submitted as evidence. Second, plaintiff claims that
Defendant did not rebut Plaintiff's affidavit in a timely manner proper format
under the local rules and......

Case 22-10270-CMA Doc 44 Filed 05/13/22 Ent. 05/16/22 14:02:23 Pg. 37 of 37

 
